 

IN THE UNITED STATES BANKRUPTCY COURT
DISTRICT OF PUERTO RICO

IN RE: MICHELLE MARIE SANTOS ROBLES
SSN xxx-xx-2775 CASE NO: 18-04636-ESL

Debtor(s) Chapter 13

 

STANDING CHAPTER 13 TRUSTEE §341 MEETING MINUTES AND REPORT ON CONFIRMATION

 

 

 

Petition Filing Date: 08/16/2018 First Meeting Date: 09/19/2018 at 10:00AM
Days From Petition Date: 34 341 Meeting Date: 09/19/2018 at 10:00AM
910 Days Before Petition: 02/18/2016 Confirmation Hearing Date: 11/02/2018 at 11:00AM
Chapter 13 Plan Date: os/16/2018 O Amended Plan Base:s30,000.00 Plan Docket #3
This is Debtor(s) 1 Bankruptcy petition. This is the ist scheduled meeting.
Payment(s) 0 Received or 9 Evidence shown at meeting: Total Paid In: $600.00
Check/MO#
Date: Amount: $
*APPEREANCES: Telephone Video Conference
Debtor: @ Present 0 Absent “ID & Soc. OK Joint Debtor: 0 Present 0 Absent ID & Soc. OK
“ Examined Not Examined under Oath Examined Not Examined under Oath

Attorney for Debtor(s): O Not Present ™ Present

Name of Attorney Present (Other than Attorney of Record):

 

Pro-se
“ Creditor(s) Present None

BPPR -- Vilches

“ATTORNEY FEES AS PER R 2016(b) STATEMENT:
Attorney of Record: ROBERTO FIGUEROA CARRASQUILLO*

Total Agreed: $3,000.00 Paid Pre-Petition: $232.00 Outstanding (Through the Plan): $2,768.00

 

*TRUSTEE'S REPORT ON CONFIRMATION & STATUS OF §341 MEETING

Debtor's/s' Commitment Period: & Under Median Income 36 months Above Median Income 60 months §1325(b)({1)(B)
Projected Disposable Income: $

The Trustee cannot determine debtor's/s' commitment period at this time.
Liquidation Value: $ 0.00 cstimated Priority Debt: 3

If the estate were liquidated under Chapter 7, nonpriority unsecured claims would be paid approximately $0.00
The Trustee: NOT OBJECTS @ OBJECTS Plan Confirmation Gen. Uns. Approx. Dist.: 0.00 %

§341 Meeting CONTINUED NOT HELD ™ CLOSED HELD OPEN FOR DAYS

§341 Meeting Rescheduled for:

 

Comments:

 

*CREDITOR(S) ORAL OBJECTIONS [LBR 3015-2 (c)(4)]
-No objections

 

*TRUSTEE'S OBJECTIONS TO CONFIRMATION: NOTICE: LBR 3015-2(c)(6) The debtor must within seven
(7) days after service of the objection file either: (A) an amended plan that addresses each objection; or
(B) a reply setting forth the facts and legal arguments that give rise to the reply in sufficient detail to
allow each objector, if possible, to reconsider and withdraw its objection.

[1325(a)(1)] Failure to comply with her/his/their duties.[11 U.S.C.704(a)(4) and 1302(b)(1)]

Debtor failed to submit evidence of income from Claro (previous employer) for the six months prior to
filing bankruptcy.

[1325(a)(5)] Plan fails to comply with required treatment of allowed Secured Claims.

Plan fails to provide for the lifting of the automatic stay in favor of Toyota. Vehicle is paid by third
party.

[1325(a)(6)] Insufficiently Funded —- Plan funding insufficient to comply with plan scheduled distribution
or no sufficient information to determine it.

Plan is insufficiently funded to pay secured claim filed by BPPR.

 

ee ean: Meeting Date: Sep 19, 2018

Trustee

/s/ Alexandra Rodriguez, Esq., Presiding Officer

 

Last Docket Verified: 13 Last Claim Verified: 3
